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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

 CHARLES A.POWELL,etal..

           Plaintiffs,

     V.                                                   l:18-cv-00824(LMB/IDD)

 BANK OF AMERICA,

           Defendant.



                                     MEMORANDUM OPINION


          Before the Court is the defendant Bank of America's Motion to Dismiss [Dkt. No. 13] in

which it argues that the claims in plaintiffs' Second Amended Complaint^ should be dismissed

under the doctrines ofres judicata and collateral estoppel. Defendant also argues that the claims

are time-barred. The pro se plaintiffs Charles A.Powell and Janice F. Powell have responded to

the motion. Dkt. No. 19. Finding that oral argument would not further the decisional process, the

defendant's Motion to Dismiss will be granted without oral argument for the reasons discussed

below.


                                          I. BACKGROUND


          In their four-count complaint,^ plaintiffs allege that the defendant has fraudulently

foreclosed on the real property known as 8462 Summer Breeze Lane, Springfield, Virginia(the

"Property") and has violated the Home Ownership and Protection Act("HOEPA"), 15 U.S.C. §




^ Because the Second Amended Complaint is the only complaint in effect it will be referred to as
the Complaint and all references will be to it.
^ Although the Complaint lists eight apparent causes of action—^lack ofstanding to foreclose,
fraud in the concealment, quiet title, slander oftitle, declaratory relief, violations ofTILA,
violations ofRESPA,and rescission—it contains only four counts.
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